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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                           )
PETER STRZOK,                              )
                                           )
                   Plaintiff,              )
                                           )
       V                                   )               Civil Action No. 19-2367 (AB J)
                                           )
                                           )
MERRICK GARLAND, in his official capacityas)
AttorneyGeneral,eral. ,                    )
                                           )
                      Defendants .                  b
                                                    )
LISA PAGE,                                          )
                                                    )
                      Plaintiff,                    )
                                                    )
       V.                                           )      Civil Action No. 19-3675 (TSC)
                                                    )
U.S. DEPARTMENT OF JUSTICE, er al. ,                )
                                                    )
                      Defendants.                   )
                                                    )
                                                    )


                        DECLARATION OF NANCY H. WIEGAND
                        FEDERAL BUREAU OF INVESTI(,ATION
   I, Nancy H. Wiegand, hereby state and declare as follows:

       1.     1 am Acting Deputy General Counsel of the Litigation Branch in the Federal

Bureau of Investigation’s (“FBI”) Office of the General Counsel (“OGC”), at FBI Headquarters

and Chief of the Strategic and Sensitive Information Litigation Section, Litigation Branch in

Washington, D.C.

       2.     The statements contained in this declaration are based upon my personal

knowledge,my review andconsiderationof documentsandinformation availableto me in my

official capacity, and on information obtained from other FBI employees.

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        3.      This declaration is submitted in support of Defendants’ request that the Court

modify the current scheduling order and extend by four months the deadline for substantial

completion of document production, as well as the overall discovery deadline. As explained

below, a combination of COVID-19, technological issues, and resource constraints have

significantly hampered the FBI’s document processing efforts to date. The FBI has produced

thousandsof responsive pagesto date, but it needs additional time to complete its production.

                                THE FBI’S DISCOVERY PROCESS

        4.      The FBI has a thorough, multi-step civil discovery processdesignedto avoid the

inadvertent production of classified or law enforcement privileged information. Several

Litigation Branch units are involved in this process, including the Civil Litigation Units

(“CLU“), the Discovery Unit (“DU“), and the Sensitive and Strategic Discovery Unit (“SSDU”).

        5.       One of DU’s responsibilities is running searchesfor electronically stored

information (“ESl”) within both the FBI’s classified and unclassified enclaves. The process of

collecting and searching emails, reviewing them for relevance and privilege, and making

necessaryredactions is labor-intensive and time-consuming. DU’s eDiscovery Technical

Advisors (“ETAs“) conduct the initial searchesand ingest their searchresults into the FBI’s

eDiscoveryPlatform(eDP). Searches
                                aretypically run on both the unclassified(“UNET“)

network, as well as the Secret(“FBINET”) network.1 FBI attorneys review the search results

and, in consultation with DOJ attorneys, conduct a relevancy review to determine which, if any,

electronic documents are responsiveto a plaintiffs discovery requests.

        6.      Pursuant to standardprocedure, documents and emails from the FBI’s classified

enclaves undergo a classification review with the FBI Information Management Division’s


1Depending on the case subject matter, searchesmay also be run on the Top Secret network. Searches run on the
Top Secret network require additional security and logistical protocols for document collection and review

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Classrllcatlon UnIt, whrch is not part ol FBI UGC. 1he classrircatron Unrt rs responsrble Tor

reviewing documentsfor national security purposes. This includes a line-by-line review of

documents responsive to civil or criminal discovery proceedings and special administrative

reviewsrequestedby otherFBI components.Theinformation often needsto be reviewed in the

aggregate since information in one document coupled with information from another document

could be considered classified when the information is taken together. I understand that the

Classification Unit usesa different review platform which is not compatible with the Litigation

Branch’s eDP review platform

       7.      Following a review by the Classification Unit, the documents are returned to the

Litigation Branch for privilege review. Sincethe Classification Unit usesa different review

platform, each document must be reformatted one at a time prior to the privilege review.

       8.      In this case,DU is responsible for conducting the privilege review of both

classified and unclassified documents,which consists of a line-by-line review for privileged

information contained within the responsive material before the FBI can releasethe responsive

material outside of the FBI. A line-by-line review is a burdensome manual task where the

assignedDU Paralegal Specialist (PLS) must review every word on every page of a document,

looking for any privileged information, which also includes recognizing that information on one

pagethat normally doesnot qualify asprivileged information on its own could be privileged

when combined with information from another page of the document. DU also must redact

informationcoveredby variousgovernmentprivileges. DU’s review consistsof a first-line

review by a Paralegal Specialist (“PLS”), a second-line review by another PLS, and a final

review by a Supervisory Paralegal Specialist. The three reviews are standard procedure, and

each review is conducted by a different Paralegal Specialist. After DU’s review is complete, the



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FBI attorney assIgnedto the case revrews the documents to contrrrn the proper applrcatron ot

privilege redactions. Only after this carefhl, multi-stage review with appropriateredactions

supporting the assertion of privileges may the FBI release material outside the agency.

       9.     After the DU paralegalsandFBI attorneyscompletetheir review of the

documents, the documents are transmitted to DOJ attorneys for their review. Depending on the

content of the documents, the materials are also sometimes shared with attorneys from other

government agencies. This inter-agency review process typically requires that transparent

redactions be applied to the documents. The attorneys from DOJ coordinate with the FBI

attorneys assignedto the caseto discuss redactions. After the external DOJ review, DU makes

any changesnecessaryto the redactions and FBI and DOJ attorneys conduct a final review of the

documents. The documents are then produced to opposing counsel.

       10.     While attorneys may sometimes rely upon remotely accessing eDP for reviewing

some unclassified materials for relevancy, FBI attorneys and PLSs must use the FBI’s classified

enclavewhen reviewing and redactingmaterials originating from that system. Any materials

originating on the classified system, even those originally marked as being unclassified, have the

possibility of containing classified information. These materials cannot be removed from this

classified system before undergoing redactions during the privilege review. DU PLSs do not

currently possessthe tools neededto perform the review and redaction process remotely.

       11.     Therefore, telework is not available for most employees involved in significant

portions of the FBI’s discovery review process becausethe systems that they work on are located

on the FBI’s classified enclave. Multiple steps in the discovery process, including the DU

ETA’s ESI searches;
                  the ClassificationUnit’s review; DU’s three-levelprivilege review; and

portions of the FBI attorney review, must occur on the FBI’s classified enclave regardless of



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which enclave the documents originated on. The other step, review by other government

attorneys, occurs on classified enclaves when the documents contain classified information, even

if that classified information will ultimately be redacted.

                           2020-2021RESOURCE DISRUPTIONS DUE TO COVID

         12.      On January 31, 2020, Health and Human Services Secretary Alex M. Azar II

declared a public health emergency for the United Statesto aid the nation’s healthcare

community in responding to COVID-19. On March 7, 2020, the Office of Personnel

Management recommendedthe “incorporation of telework and 'social distancing’ in COOP

[Continuity of Operations] and emergency planning [to] allow the Federal Government to

continue functioning efficiently and effectively, while ensuring the health and safety of

employees.”2 Further, on March 15, 2020, the Acting Director of the Office of Management and

Budget issued guidance to Federal agenciesin the National Capital Region to implement

maximum telework flexibilities.

         13.      In responseto this directive, on March 16, 2020, Litigation Branch employees,

including DU, were directed to telework or placed on administrative leave becausethey were not

telework capable nor designated mission critical.3 On May 3, 2020, DU returned to the office at

a reduced capacity and used staggered work schedules to maintain adherence to social distancing

protocols. For four weeks, they operated at 33% capacity and, in June 2020, increased to 50%

capacity for approximately five weeks before returning to full capacity.

         14.      DU and SSDU support over 700 casesper year, including matters involving civil


2 United StatesOffice of PersonnelManagementMemorandum “Coronavirus Disease20 19 (COVID- 19);
Additional Guidance” (March 7, 2020), https://www,chcoc.gov/content/coronavirus-disease-20 1 9-covid- 19-
additional-guidance (last accessed Mar. 17, 2020). See also United States Office of Personnel Management
Memorandum“Updated Guidanceon Telework Flexibilities in Responseto Coronavirus” (March 12, 2020),
https://www.chcoc.gov/sites/default/files/M-20- 13.pdf (last accessedMar. 1 7, 2020).

3 A mission-critical position is one whose functions absolutely cannot be put on hold

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dISCOveryrequests, congressIonal requests, and crImInal drscovery requests. Nearly all

Litigation Branch’s caseswere impacted by the approximately sixteen weeks of COVID- 19

disruption discussedabove and, accordingly, DU returned to a significant backlog of work.4

Additionally, many of these casesare designated high priority, especially congressional requests.

In 2020, the FBI received congressional requests that required significant resources to process

which, at times, required the Litigation Branch to temporarily divert resources away from civil

litigation. Since the events that occurred at the Capitol on January 6, 2021, the diversion of

resourcesto congressional requestshas increased. Additionally, on September 3, 2021, the

President issuedan executive order requiring the declassification review and public release of

records related to the terrorist attacks of 9/11. See Executive Order 14040, 86 F.R. 50439

(2021). The order imposed very tight deadlines and unexpectedly diverted SSDU resources. See

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to return to a normal operational footing. Normal operations have not yet resumed due to the

inability to return all our staff to their duty station at once, numerous casesand exposures to

COVID-19 that required mandatory quarantine periods, the alternate work schedules utilized in

responseto the CC)VID-19 national emergency, and numerous safety concerns within the

Washington, D.C. area that have limited access to FBI Headquarters and slowed progress on

discoveryreviews.

                                      TECHNICAL CHALLENGES

        16.      The FBI’s discovery efforts in this case have also been hampered by a

combination of system-wide and case-specific technological issues.


4 There are approximately 39 Paralegal Specialists and Supervisory Paralegal Specialists in DU and SSDU
combined supporting these 700 cases.

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       17.      The FBI beganusing the eDP discovery platform to collect and review relevant

ESI in this caseshortly after receiving Plaintiffs’ discovery requests in late 2020. ETAs began

electronic key word searchesin custodians’ FBINET and UNET exchangemailboxes in

February 2021. A preliminary review of the initial results revealed numerous false positive hits

requiring the searchterms to be modified.

       18.      ETAs finished running and ingesting the revised searchesin April 2021.

However, when OGC attorneys used eDP to view the search results, they found corrupted

searchesthat could not be openedor accessed. ETAs spent significant time trying to determine

whether the issuecould be resolved, and they also coordinated with eDP subject matter experts

on the unusable searches. They ultimately concluded that the original FBINET searchescould

not be salvageddespite their best efforts.

       19.      Given the repeated issueswith the prior search efforts, OGC attorneys decided to

revamp their email review process. OGC attorneys asked the ETAs to gather complete FBINET

mailboxes for a specific date range for 11 individuals they had determined were most likely to

possessrelevant information (the “11 identified custodians”). The collection and ingestion of the

mailboxes in this date range for these 11 identified custodians was completed in July 2021. In an

abundanceof caution, ETAs also spent time conducting various tests to ensure the corresponding

UNET mailboxesfor the 11 identified custodiansand time period had been properly collected

and ingested.

       20.      OGC attorneys began reviewing the mailboxes for the 11 identified custodians

using a combination of searchterms and manual review in July. However, system-wide issues

with theeDPplatform furtherdisruptedtheir review. As part of the FBI’s efforts to migrateto a

new improved version of the eDP software, eDP was temporarily offline on multiple occasions.



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For example, the FBI temporarily disabled FBINET eDP for almost three weeks in July and

August 2021. The eDP system experiencedseveral other intermittent periods of unavailability

during the discovery period of this casedue to maintenance and service disruptions, as well as

periodic slowness/lag time related to the system upgrade.

        21.      The FBI is hopeful that these issueshave been largely resolved, but some remote

userscontinue to experience connectivity issueswith eDP while teleworking and have limited

ability to report to their duty stationsdue to COVID-related concernsand protocols.

                                           LIMITED FBI RESOURCES

        22.      DU and SSDU personnel are presently handling approximately 100 active

matters. Thesemattersinvolve a broad variety of issues,including, but not limited to, litigation

matters,responsesto third-party subpoenas,and demandsfor information from Congress.

        23. The FBI considers all matters that it handles, including civil discovery requests and

Congressionalrequests for information, to be important. OGC therefore generally attempts to

spreadits personnel and resourcesamong all pending discovery matters. However, a unique and

unfortunate set of circumstanceshas forced OGC leadership to temporarily modify its approach

and focus almost exclusively on one pending matter.

        24. The FBI is currently in discovery in litigation relatedto the StonemanDouglas High

Schoolshooting in Parkland,Florida.5 Seegenerally in re: Marjory StonemanDouglas High

School Shooting FTCA litigation, CaseNo. 18-62758-CIV-DIMITROULEAS                            (S.D. Fla.). The

Parkland case involves the deadliest high school shooting in US history, with 17 individuals

killed and another17individualsinjured. TheParkland litigation is a top priority for the FBI

given the numerous plaintiffs and sensitive subject matter at issue, as well as a series of adverse


5While the Broward County school district recently settled with a number of plaintiffs who had sued in state court,
the referenced federal court suit against the United States is still pending.

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rulings the government has received on discovery matters. Trial is currently scheduled for

January2022, and the government has been working diligently to produce non-privileged

responsivedocumentsrequestedin discovery in that case.

       25.     While the instant case has been designated a priority for OGC, DU personnel have

generally been unavailable to assist with privilege reviews in this matter since September 9,

2021. One Supervisory PLS has devoted a few hours to this case over the past few weeks to

assistwith supplemental productions, but DU processing has generally been placed on hold

while DU personnel weretemporarily reassignedto assistwith Parkland.

       26. Discovery in the Parkland matter is progressing, and OGC management is working

on a revised plan that will allow DU to resumework on this matter and other high priority

mattersthis month. Even once that revised plan increases resources for this case and a handful

of othertop priority matters,resourceswill remainlimited in light of the continuedneedfor

discovery in theParkland litigation as well as other priority matters.

                  THE FBI’S DOCUMENT PRODUCTION TO DATE

       27.     Despite the numerous limitations described above, the FBI has made significant

progresstowards completing its document production in the case,and the government has made

multiple document productions since the status conference and the Court’s subsequentMinute

Order, dated May 5, 2021.

       29.     As described above, collections for the 11 identified custodians were performed

and ingested into eDP in July 2021. Between late July and early October, OGC attorneys

performed an initial review of UNET and FBINET emails for the 11 identified custodians.

Using a combination of searchterms and manual review, OGC attorneys located approximately

3,000 responsive documents for those custodians. The FBI has produced approximately 5,100



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pagesof UNET emails to date. In addition to the 5,100 pagesof UNET emails, the FBI has also

produced approximately 1800 pages of other documents. For two of these 11 identified

custodians,the FBI is continuing to refine its searches.

            A FOUR-MONTHEXTENSIONWOULD ALLOW THE FBI TO
      SUBSTANTIALLY COMPLETE DOCUMENT SEARCHES,REVIEW, AND
                 PRODUCTION UNDER CURRENT CIRCUMSTANCES

       30.     1understand that Plaintiffs suggesteda one-month extension should suffice for the

FBI to complete its document productions. Plaintiffs’ proposed one-month extension would not

provide the FBI with sufficient time to complete the steps that remain. A four-month extension

is necessaryto substantially complete document productions.

       31.     Given the combination of COVID-19 and eDP technological issues,a significant

amount of ESI discovery remains in this casedespite the FBI’s diligent efforts. While OGC

attorneyshave performed an initial review of UNET and FBINET emails for the 11 identified

custodians,there remains a significant amount of work before the FBI will have substantially

completed its document productions.

       32.     First, DU still needsto processmost of the approximately 3000 UNET and

FBINET emails that OGC attorneyshave taggedas responsivefrom the 11 identified custodians.

Once DU has completed their processing, those emails will be sentto DOJ for their review prior

to release.

       33.     Second,there are additional categories ofESI that are still being reviewed and

processed
        for the 11 identified custodians.As notedabove,the FBI is refining its searchesfor

two of the 11 identified custodians. Further, OGC is beginning their review of text messagesand

Lyne messagesfor these custodians. OGC also expects to conduct a search of electronic storage

drives for the subset of the 11 identified custodians most likely to possessrelevant information



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on such drives. Once OGC attorneys complete their review of these materials, the documents

will need to be reviewed and processed by DU, as well as sent to DO J (and, if necessary, other

governmentagencies)for their review.

       34.     Given the breadth of materials left to be reviewed, as well as the continuing

impacts of COVID-19 on the OGC workforce, the Parkland litigation, understaffing for both

OGC attorneys and paralegals, and the upcoming holidays, the FBI requires a four-month

extension to complete its document production. The requested four-month extension is

necessaryfor OGC attorneysto completetheir review, DU paralegalsto conduct their three-step

review and redaction process, and DOJ (and, if necessary,other government agency) attorneys to

complete their review of UNET and FBINET e-mail communications, text messages,and other

electronic documents from 11 custodians from the time periods relevant to the claims in these

two matters.

       35. The FBI’s four-month extension request is based on the current search parameters

( 11 identified custodians; UNET and FBINET email communications and text messages;

electronic storage drives for a subset of custodians). To the extent the FBI is required to expand

its search,the FBI expectsthat it would need additional time beyond the requested four-month

extensIon.




                                        CONCLUSION

       36.     Throughout the course of discovery, FBI personnel have worked diligently on this

case. For the reasonspreviously discussed,including the multi-stage review that the FBI

utilizes, resource limitations, backlogs, and the many issues with maintaining accessto the FBI

system, meeting the Court’s currently imposed discovery deadline is not feasible. Nor, for the



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reasonsset forth above, is the one- month extension requested by Plaintiffs sufficient for FBI to

complete its production.




I declare under penalty of perjury that the forgoing is true and correct to the best of my

knowledgeandbelief.



October 92    , 2021

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                                                                        aWiegand
                                                              Acting Deputy General Counsel
                                                              Litigation Branch
                                                              Office of the General Counsel
                                                              FederalBureau of Investigation
                                                              Washington,D.C.




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